Case 3:09-cr-00240   Document 1154   Filed 06/19/12   Page 1 of 7 PageID #: 4393
Case 3:09-cr-00240   Document 1154   Filed 06/19/12   Page 2 of 7 PageID #: 4394
Case 3:09-cr-00240   Document 1154   Filed 06/19/12   Page 3 of 7 PageID #: 4395
Case 3:09-cr-00240   Document 1154   Filed 06/19/12   Page 4 of 7 PageID #: 4396
Case 3:09-cr-00240   Document 1154   Filed 06/19/12   Page 5 of 7 PageID #: 4397
Case 3:09-cr-00240   Document 1154   Filed 06/19/12   Page 6 of 7 PageID #: 4398
Case 3:09-cr-00240   Document 1154   Filed 06/19/12   Page 7 of 7 PageID #: 4399
